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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division

  KEVIN WHITE,

               Plaintiff,

  v.                                               Case No.: 2:21-cv-00113-RAJ-RJ

  GULF HARBOUR INVESTMENTS CORP.,
  SPECIALIZED LOAN SERVICING, LLC,
  EQUITY TRUSTEES, LLC, BWW LAW
  GROUP, LLC, and
  WELLS FARGO BANK, N.A.,

               Defendants.


        DEFENDANT WELLS FARGO BANK N.A’S ANSWER, DEFENSES, AND
           COUNTERCLAIM TO PLAINTIFF’S AMENDED COMPLAINT


        Defendant Wells Fargo Bank, N.A. (“Wells Fargo”), by counsel, hereby Answers

 Plaintiff’s Amended Complaint, and sets forth its defenses, stating as follows:

                                AS TO JURISDICTION & VENUE

        1.      In response to Paragraph 1, Wells Fargo admits only that the property and the

 loan(s) at issue exceed $75,000 in value. The remaining allegations in Paragraph 1 constitute

 conclusions of law to which no response is required; to the extent a response is required, Wells

 Fargo denies the allegations. Wells Fargo denies all allegations not expressly admitted.


                               AS TO NATURE OF THE ACTION

        2.      In response to Paragraph 2, Wells Fargo admits only that in 2013 Plaintiff

 refinanced a mortgage originating with Wachovia Bank, N.A. in 2005, and that the alleged 2006

 E-Loan, Inc. mortgage loan was not included in the refinance. Wells Fargo denies the implication

 that it “failed” to fulfill any purported to include the 2006 E-Loan in the 2013 refinance. To the
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 extent the allegations in Paragraph 2 are directed at entities other than Wells Fargo, they require

 no response; to the extent a response is required, Wells Fargo denies the allegations. Wells Fargo

 lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 allegations in Paragraph 2 and, on that basis, denies them. Wells Fargo denies all allegations not

 expressly admitted.


                              AS TO PARTIES TO THIS ACTION

         3.     In response to Paragraph 3, Wells Fargo admits only that Plaintiff is a Virginia

 resident. The allegation that Plaintiff is the lawful owner of the named property is a conclusion of

 law to which no response is required; to the extent a response is required, Wells Fargo denies the

 allegations. To the extent the allegations in Paragraph 3 refer to documents that speak for

 themselves, Wells Fargo denies all allegations or characterizations inconsistent with true and

 accurate copies of such documents. Wells Fargo denies all allegations, if any, remaining in

 Paragraph 3 and denies all allegations not expressly admitted.


         4.     The allegations in Paragraph 4 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         5.     The allegations in Paragraph 5 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.




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         6.     The allegations in Paragraph 6 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         7.     The allegations in Paragraph 7 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         8.     Wells Fargo admits the allegations in Paragraph 8.


                                AS TO STATEMENT OF FACTS

         9.     The allegations in Paragraph 9 refer to documents that speak for themselves; Wells

 Fargo denies all allegations or characterizations inconsistent with true and accurate copies of such

 documents.


         10.    The allegations in Paragraph 10 refer to documents that speak for themselves; Wells

 Fargo denies all allegations or characterizations inconsistent with true and accurate copies of such

 documents.


         11.    The allegations in Paragraph 11 constitute conclusions of law to which no response

 is required; to the extent a response is required, Wells Faro denies the allegations.


         12.    The allegations in Paragraph 12 constitute conclusions of law to which no response

 is required; to the extent a response is required, Wells Faro denies the allegations.




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        As to Wells Fargo Conduct


        13.     Wells Fargo admits the allegations in Paragraph 13.


        14.     Wells Fargo admits the allegations in Paragraph 14.


        15.     Wells Fargo denies the allegations in Paragraph 15.


        16.     In response to Paragraph 16, Wells Fargo admits only that the 2013 refinance closed

 without paying off the E-Loan Mortgage. Wells Fargo denies that it categorized the E-Loan

 Mortgage as an asset and denies that Plaintiff and Wells Fargo intended that the 2013 refinance

 also pay off the E-Loan Mortgage. Wells Fargo denies all allegations, if any, remaining in

 Paragraph 16 and denies all allegations not expressly admitted.


        17.     Wells Fargo denies the allegations in Paragraph 17.


        18.     The allegations in Paragraph 18 refer to documents that speak for themselves; Wells

 Fargo denies all allegations or characterizations inconsistent with true and accurate copies of such

 documents.


        19.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 19 and, on that basis, denies them.


        20.     The allegations in Paragraph 20 refer to documents that speak for themselves; Wells

 Fargo denies all allegations or characterizations inconsistent with true and accurate copies of such

 documents.


        21.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 21 and, on that basis, denies them.


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         22.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 22 and, on that basis, denies them.


         23.    In response to Paragraph 23, Wells Fargo denies that it made any errors regarding

 the 2013 refinance or the E-Loan Mortgage. Wells Fargo lacks knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations in Paragraph 23 and, on that

 basis, denies them.


         24.    In response to Paragraph 24, Wells Fargo denies that it made any errors regarding

 the 2013 refinance or the E-Loan Mortgage. Wells Fargo lacks knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations in Paragraph 24 and, on that

 basis, denies them.


         As to Gulf Harbour Investments Corporation/SLS Conduct

         25.    The allegations in Paragraph 25 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         26.    The allegations in Paragraph 26 refer to documents that speak for themselves; Wells

 Fargo denies all allegations or characterizations inconsistent with true and accurate copies of such

 documents.


         27.    The allegations in Paragraph 27 refer to documents that speak for themselves; Wells

 Fargo denies all allegations or characterizations inconsistent with true and accurate copies of such

 documents.




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         28.    The allegations in Paragraph 28 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         29.    The allegations in Paragraph 29 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         30.    The allegations in Paragraph 30 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         31.    The allegations in Paragraph 31 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         As to Equity/Gulf Harbour Conduct

         32.    The allegations in Paragraph 32 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.




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         33.    The allegations in Paragraph 33 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         34.    The allegations in Paragraph 34 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         35.    The allegations in Paragraph 35 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         36.    The allegations in Paragraph 36 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


         37.    The allegations in Paragraph 37 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.




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           38.   The allegations in Paragraph 38 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations and, on that basis, denies

 them.


           As to Damages

           39.   In response to Paragraph 39, Wells Fargo denies that Plaintiff suffered the damages

 alleged or any damages whatsoever. Wells Fargo denies all allegations, if any, remaining in

 Paragraph 39.


           40.   In response to Paragraph 40, Wells Fargo denies that Plaintiff will suffer the

 damages alleged or any damages whatsoever. Wells Fargo denies all allegations, if any, remaining

 in Paragraph 40.


           41.   Paragraph 41 contains no factual allegations and no response is required; to the

 extent a response is required, Wells Fargo denies the allegations.


                                          As to Count I
                                       Breach of Contract
                                 Balloon Payment Requirements

           42.   Wells Fargo’s responses to all prior paragraphs are incorporated and set forth

 herein.


           43.   The allegations in Paragraph 43 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           44.   The allegations in Paragraph 44 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.



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           45.   The allegations in Paragraph 45 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           46.   The allegations in Paragraph 46 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           47.   The allegations in Paragraph 47 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


                                           As to Count II
                                          TILA Violations

           48.   Wells Fargo’s responses to all prior paragraphs are incorporated and set forth

 herein.


           49.   The allegations in Paragraph 49 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           50.   The allegations in Paragraph 50 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           51.   The allegations in Paragraph 51 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           52.   The allegations in Paragraph 52 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.




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                                           Count III
                                        FDCPA Violations

           53.   Wells Fargo’s responses to all prior paragraphs are incorporated and set forth

 herein.


           54.   The allegations in Paragraph 54 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           55.   The allegations in Paragraph 55 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           56.   The allegations in Paragraph 56 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


           57.   The allegations in Paragraph 57 are directed toward entities other than Wells Fargo

 and require no response; to the extent a response is required, Wells Fargo denies the allegations.


                                             Count IV
                                             Negligence

           58.   Wells Fargo’s responses to all prior paragraphs are incorporated and set forth

 herein.


           59.   Wells Fargo denies the allegations in Paragraph 59.


           60.   Wells Fargo denies the allegations in Paragraph 60.


           61.   Wells Fargo denies the allegations in Paragraph 61.


           62.   Wells Fargo denies the allegations in Paragraph 62.




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         63.    Wells Fargo denies the allegations in Paragraph 63.


         64.    Wells Fargo denies the allegations in Paragraph 64.


         65.    Wells Fargo denies the allegations in Paragraph 65.


         66.    In response to Paragraph 66, Wells Fargo denies that it was negligent, denies that

 Plaintiff suffered the damages alleged, and denies that Plaintiff is entitled to the relief requested or

 to any relief whatsoever. Wells Fargo denies all allegations not expressly admitted in the

 foregoing.


                                  WELLS FARGO’S DEFENSES

         Wells Fargo states the following defenses, but does not assume the burden of proof on

 such defenses, except as required by law with respect to the particular defense asserted.

         1.     Plaintiff fails to state a claim against Wells Fargo upon which relief can be granted,

 including because Plaintiff fails to allege a breach of a legally cognizable duty owed by Wells

 Fargo to Plaintiff.

         2.     Plaintiff’s claims as to Wells Fargo are barred because the allegations in Plaintiff’s

 Complaint describe how Plaintiff breached his contract with Wells Fargo, specifically the Deed of

 Trust, by allowing another lien to take priority over Wells Fargo’s lien.

         3.     Plaintiff’s claims are barred by the doctrines of unclean hands, laches, and unjust

 enrichment, including because Plaintiffs have failed to pay Wells Fargo the sums owed on the

 Loan.

         4.     Plaintiff does not have standing to bring the claims asserted in the Complaint.

         5.     Without admitting any of the allegations in the Amended Complaint, Wells Fargo

 alleges that the injuries and/or damages alleged by Plaintiff were proximately caused by and/or


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 were contributed to by Plaintiff’s own actions or failures to act.

        6.      Although Wells Fargo denies any liability in this matter, it contends that any alleged

 acts or omissions giving rise to Plaintiff’s claims are the result of innocent mistake and/or bona

 fide error despite reasonable procedures implemented by Wells Fargo. Wells Fargo acted in good

 faith and in accordance with reasonable commercial standards, thus precluding any recovery by

 Plaintiff against Wells Fargo.

        7.      Plaintiff’s claims are barred because Wells Fargo’s conduct was at all times

 undertaken in good faith.

        8.      If Plaintiff suffered or sustained any loss, injury, damage, or detriment, the same

 was directly and proximately caused and contributed to by the breach, conduct, acts, omissions,

 activities, carelessness, recklessness, negligence, and/or intentional misconduct of Plaintiff, and

 not Wells Fargo.

        9.      If Plaintiff suffered or sustained any loss, injury, damage, or detriment attributed to

 Wells Fargo, Wells Fargo is entitled to indemnity for any such liability from third parties. Further,

 to the extent Plaintiff recovers any sums, such recovery should be offset by the fair market rental

 value for the property to the extent Plaintiff has resided at the property without paying money

 owed to their lender or the title owner of the property.

        10.     Wells Fargo denies that Plaintiff is entitled to a trial by jury.

        11.     Wells Fargo hereby gives notice that it intends to rely upon such other defenses that

 may become available during the course of discovery, and thus reserves its right to modify and/or

 supplement its Answer, file further pleadings, and assert additional defenses as necessary or

 appropriate, as its investigation of the claims asserted against it and its defenses is continuing.




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                              WELLS FARGO’S COUNTERCLAIM

        Defendant / Counterclaim Plaintiff Wells Fargo Bank, N.A. (“Wells Fargo”), by and

 through their undersigned counsel, alleges as follows for its Counterclaim against Plaintiff /

 Counterclaim Defendant Kevin White (“White”)

                                      STATEMENT OF CLAIM

        1.      Wells Fargo brings this counterclaim alleging breach of contract.         By this

 counterclaim, Wells Fargo seeks damages against White for its breach of the Deed of Trust, plus

 attorney’s fees and costs.

                                          COMMON FACTS

        2.      As alleged in Plaintiff’s Complaint in this action, on or about November 15, 2005,

 Wachovia Bank, N.A. loaned Plaintiff the amount of $316,000.00 for a purchase-money mortgage

 to purchase property located at 3825 Larchwood Drive, Virginia Beach, VA (the “Property”). See

 Amended Complaint, D.E. 12 (“Amended Complaint”), ¶ 9.

        3.      As alleged in Plaintiff’s Complaint, on or about March 21, 2006, E-Loan Inc.

 loaned Plaintiff $73,500.00 (the “E-Loan Mortgage”), as recorded in a promissory note and

 secured by a Deed of Trust which purports to encumber the Property. See Amended Complaint, ¶

 10 and Exhibit A thereto.

        4.      As alleged in Plaintiff’s Complaint, on or about April 5, 2013, Wells Fargo loaned

 Plaintiff $298,600.00 (the “Wells Fargo Loan”), as recorded in a promissory note and secured by

 a Deed of Trust which encumbers the Property (the “Wells Fargo DoT”).              See Amended

 Complaint, ¶ 18 and Exhibit B thereto.

        5.      The Wells Fargo DoT provides, in pertinent part:

                4. Charges; Liens. … Borrower shall promptly discharge any lien
                which has priority over this Security Instrument unless Borrower:



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                (a) agrees in writing to the payment of the obligation secured by the
                lien in a manner acceptable to the Lender; but only so long as
                Borrower is performing such agreement; (b) contests the lien in
                good faith by, or defends against enforcement of the lien in, legal
                proceedings which in Lender’s opinion operate to prevent the
                enforcement of the lien while those proceedings are pending, but
                only until such proceedings are concluded; or (c) secured from the
                holder of the lien an agreement satisfactory to the Lender
                subordinating the lien to this Security instrument. If Lender
                determines that any part of the Property is subject to a lien which
                can attain priority over this Security Instrument, Lender may give
                Borrower a notice identifying the lien. Within 10 days of the date
                on which that notice is given, Borrower shall satisfy the lien or take
                one or more of the actions set forth above in this Section 4.

 Amended Complaint Ex. B, D.E. 12-2 at pp. 5-6.

        6.      As alleged in the Complaint, Plaintiff allowed the Wells Fargo Loan to become

 subordinate to the E-Loan Mortgage. See Amended Complaint, ¶¶ 12.

        7.      Plaintiff allowed the E-Loan Mortgage to become delinquent, and Defendant Gulf

 Harbour Investments Corporation scheduled a foreclosure sale on the Property for February 23,

 2021. See Amended Complaint, ¶ 20.

        8.      If Plaintiff’s allegations in the Complaint are true, then Plaintiff failed to discharge

 a lien which has priority over the Wells Fargo Loan (i.e., the E-Loan Mortgage), in contravention

 of the Wells Fargo DoT.

        9.      Plaintiff has not agreed in writing to the payment of the E-Loan Mortgage in a

 manner acceptable to Wells Fargo, per Section 4(a) of the Wells Fargo DoT.

        10.     Plaintiff has not secured from the holder of the E-Loan Mortgage an agreement

 satisfactory to Wells Fargo subordinating the lien to the Wells Fargo DoT, per Section 4(c) of the

 Wells Fargo DoT.

        11.     Per Section 4(b) of the Wells Fargo DoT, by filing this action Plaintiff is defending

 against enforcement of the E-Loan Mortgage in legal proceedings, which is temporarily preventing



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 Plaintiff’s breach from being consummated. However, if Plaintiff’s claims against the other parties

 to this action are resolved in such a way that leaves the Wells Fargo Loan subordinate to the E-

 Loan Mortgage (which Plaintiff alleges to be the case,) then Plaintiff will once again be in breach

 of the Wells Fargo DoT.

        12.     Wells Fargo therefore petitions this Court for redress of Plaintiff’s breach of the

 Wells Fargo DoT.

                                         COUNTERCLAIM
                                         (Breach of Contract)

        13.     Wells Fargo re-alleges Paragraphs 1 through 12 of its Counterclaim as though fully

 incorporated by reference herein.

        14.     The Wells Fargo DoT is a valid contract between Plaintiff and Wells Fargo.

        15.     Wells Fargo performed on the Wells Fargo DoT by lending Plaintiff $289,600.00

 on or about April 5, 2013.

        16.     Plaintiff failed to perform on the Wells Fargo DoT by allowing the Wells Fargo

 Loan to become subordinate to the E-Loan Mortgage, as Plaintiff himself alleges in his Complaint.

        17.     Wells Fargo has already suffered damages from Plaintiff’s breach, in the form of

 legal costs incurred in appearing in and litigating this action.

        18.     Wells Fargo will suffer further damages from Plaintiff’s breach if this action is

 resolved in such a way that leaves the Wells Fargo Loan subordinate to the E-Loan Mortgage, as

 Plaintiff alleges in the Complaint.

        19.     Wells Fargo is entitled to all remedies and damages contemplated in the Wells

 Fargo DoT, including but not limited to acceleration.




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        WHEREFORE, Wells Fargo requests that the Court dismiss with prejudice Plaintiff’s

 claims against Wells Fargo, award him no relief, award to Wells Fargo the damages requested in

 Wells Fargo’s counterclaim, and award such other and further relief deemed just and proper.


 Date: April 13, 2021                                  Respectfully Submitted,

                                                       WELLS FARGO BANK, N.A.

                                                       By Counsel

                                                       /s/ Paul Gibson
                                                       Alison Wickizer Toepp (VSB # 75564)
                                                       Paul A. Gibson, III (VSB No. 82136)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of April, 2021 I served a true and correct copy of the

 foregoing by U.S. Mail, postage prepaid, on the following:


                       Lenard Myers, II, Esq.
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